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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


                                               )
Estate of Esther Klieman, et al.,              )
                                               )
                               Plaintiffs,     )
v.                                             ) Civil Action No. 04-1173 (PLF)
                                               )
The Palestinian Authority, et al.,             )
                                               )
                               Defendants.     )
                                               )


         PLAINTIFFS’ RESPONSE TO DEFENDANTS’ FOURTH NOTICE OF
                SUPPLEMENTAL AUTHORITY IN SUPPORT OF
        DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL


       Plaintiffs by and through their undersigned counsel, hereby submit this Response

to Defendants’ Fourth Notice of Supplemental Authority in Support of Defendants’

Opposition to Plaintiffs’ Motion to Compel (“Fourth Notice”), (D.E. 333). Shatsky v. PLO,

Case No. 18 Civ. 12355 (MKV), (S.D.N.Y. Mar. 18, 2022) (D.E. 165) (the “SDNY

Opinion”) is irrelevant to Plaintiffs’ pending Motion to Compel (or “Motion”). The SDNY

Opinion completely rests on the Fuld and Sokolow decisions and does not add new weight

to Defendants’ arguments in this case. The Shatsky court declared that: “this case is

essentially identical to Fuld and Sokolow, the decisions in those cases lay out all of the

parties' arguments, and I will not belabor the discussion.” Shatsky v. PLO, No. 18-cv-

12355 (MKV), 2022 U.S. Dist. LEXIS 48721, at *14 (S.D.N.Y. Mar. 18, 2022).

       The Defendants’ Fourth Notice asserts that the “[t]he Shatsky court reached this

conclusion after permitting jurisdictional discovery concerning the PSJVTA’s factual

predicates [Id. at 6], and notably, the jurisdictional discovery record in Shatsky is the exact

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same jurisdictional discovery that Defendants have produced in this case.” D.E. 333 at 1.

But jurisdictional discovery is not over in this case and the jurisdictional discovery being

sought by Plaintiffs extends beyond what was produced in Shatsky.1 Thus the Shatsky

opinion provides compelling support for Plaintiffs’ decision to pursue additional discovery

under the activities prong of the PSJVTA, which indeed requires a separate discovery

process and analysis from the payments prong.

       Rather than add anything new to Defendants’ one-sided debate on the

constitutionality of the PSJVTA, the most recent SDNY Opinion concentrates its analysis

on the question of whether the PA and PLO have any due process rights to assert:

       The executive has, in the past, structured relations based on its explicit
       understanding that the PLO and PA are not entitled to constitutional
       protections of any kind. See Constitutionality of Closing the Palestine
       Information Office, an Affiliate of the Palestine Liberation Organization,
       11 Op. O.L.C. 104, 106 (Aug. 14, 1987) ("As noted, the starting point of
       our analysis is that the PLO itself, as a foreign political entity, has no
       constitutional rights."). I think that understanding was correct.

Shatsky v. PLO, No. 18-cv-12355 (MKV), 2022 U.S. Dist. LEXIS 48721, at *20 (S.D.N.Y.

Mar. 18, 2022) (emphasis added).

       Therefore, this Court should compel the Defendants to produce the documents and

information sought in the pending Motion to Compel relating to the activities prong of the

PSJVTA. The SDNY Opinion, if it bears on those issues at all, would weigh in favor of

further exploration of the activities prong as requested by Plaintiffs. The parties have been


1 Plaintiffs’ Motion seeks, for example, financial records/information regarding
Defendants’ U.S. activities, calendars/activities of Defendants’ U.S. based employees,
records/information regarding the PA President’s activities during trips to the U.S., and
records regarding modifications to PA’s U.S. activities in response to the PSJVTA. D.E.
315-1, at 2-3. While Plaintiffs believe the constitutional analysis in Shatsky is incorrect,
these discovery requests would produce additional information that the Shatsky court did
not have before it

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engaged in the jurisdictional discovery process ordered by this Court, so that this Court can

make a well-reasoned decision based upon the facts and circumstances of this case.

       Finally, at a later date the parties will have the opportunity for properly briefing the

constitutionality of both prongs of the PSJVTA on an appropriately developed factual

record. Plaintiffs respectfully suggest that such ordered briefing would assist the Court in

making the best decision, as keeping with “the fundamental principle of judicial restraint

that courts should neither anticipate a question of constitutional law in advance of the

necessity of deciding it nor formulate a rule of constitutional law broader than is required

by the precise facts to which it is to be applied.” Wash. State Grange v. Wash. State Rep.

Party, 552 US 442, 450 (2008) (citations omitted).

Dated: March 24, 2022                          Respectfully submitted,

                                               /s/ Tracy Reichman Kalik

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